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                                                                                              2018 Nov-02 PM 03:29
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA




                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 JAMES BARBER,                                    )
                                                  )
        Plaintiff,                                )
 v.                                               )
                                                  )    Case No.: 2: 15-cv-00997-JHE
 HUGH HOOD, et al.,                               )
                                                  )
        Defendants.                               )
                                                  )

                                        STIPULATION

       The parties hereby stipulate to the following facts:

        I.    At all relevant times to this case, James Barber was an inmate at the Donaldson
Correctional Facility. Mr. Barber has been incarcerated since May 2001.

       2.      Donaldson Correctional Facility is an Alabama state correctional facility.

       3.     From May 2013 through the present, Dr. Roddam has worked at Donaldson
Correctional Facility as the Medical Director.
         4.      From November 2007 through the present, Dr. Hood has been either the Assistant
Medical Director or the Physician Director for the state of Alabama. In that capacity Dr. Hood
oversees the Medical Directors and the mid-level medical providers at the various correctional
facilities across the state of Alabama.
       5.      Mr. Barber was diagnosed with degenerative joint disease in his left hip in 2004.

               Degenerative joint disease is a progressive disease that occurs when the cartilage
      oints betwee    e bones w s down.

                                ot received hip replace~\~            a~( .
                                                         Philip G. P i g g o t t ~
                                                         Attorney for Defendants
                                                         Hugh Hood and Roy Roddam
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                                          Gar   . Willford, Jr
                                      Attorney for Defendant
                                      Jefferson Dunn

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